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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.: 21-CV-2470-DDD-KMT

  LAWRENCE EDWARDS, on behalf of himself and all others similarly situated,

         Plaintiff,

  v.

  OILEX, INC. d/b/a/ GREASE MONKEY, a Colorado corporation; and
  WAYNE GLASSER, an individual,

        Defendant.
  ______________________________________________________________________________

                  NOTICE OF DISMISSAL WITHOUT PREJUDICE
  ______________________________________________________________________________

         Plaintiff Lawrence Edwards, on behalf of himself and all others similarly situated, by and

  through counsel, Leventhal Lewis Kuhn Taylor Swan PC, and pursuant to Fed. R. Civ. P.

  41(a)(1)(A)(i), respectfully notices the dismissal of this action without prejudice.

         Respectfully submitted this 18th day of October, 2021.

                                                /s/ Andrew E. Swan
                                                Paul F. Lewis
                                                Michael D. Kuhn
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